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     5                             UNITED STATES DISTRIG COURT
     6                                   DISTRICT OF NEVADA

     7 UNITED STATES0FAM ERICA,                        )
     8                                                 )
                     Plaintiff,                        )
     9                                                 )
            v.                                         )          2:10-CR-454-JCM (GW F)
                                                       )
    10 NABOR GARCIA,                                   )
    11                                                 )
                     Defendant.                        )
    12                           FINAL ORDER OF FORFEITURE AS TO
                                     DEFENDANT NABOR GARCIA
    13
    14           OnNovember10,2011,thisCourtenteredaprelim inmy orderofForfeiturepursuantto Fed.
    15 R.Crim.P.32.2(b)(l)mld(2);Title18,UnitedStatesCode,Sedion981(a)(1)(C)and(a)(1)(A)and
    16 Title28,UnitedStatesCode,Section2461(c);Title 18,UnitedStatesCode,Section982(a)(1);and
    17    Title21,United StatesCode, Section8531)forfeitingpropert
                                                                 yofdefendantNABOR GARCIA to
    l8    theUnited StatesofAm erica.Docket//111.
    19           IT IS HEREBY ORDERED,ADJUDGED , AND DECREED pursuantto Fed.R.Crim .P,
    20 32.2(b)(4)(A)and(B);Title18sUnitedStatesCode,Section981(a)(1)(C)and(a)(1)(A)andTitle28
1                                                                                              ,
!   21 UnitedStatesCode,Section246l(c);Title18sUnited StatesCode,Section982(a)(1);andTitle21,
    22 UnitedStatesCode,Section853(p)thattheforfeitureofthepropertynamedinthePreliminaryOrddr
    23 ofForfeiture(#l11)isfinalastodefendantNABOR GARCIA.
    24           DATED this         day of                    ,   2012.
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    26
                                                    LTNITED STATES DISTRICT JUDGE
